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Exhibit 17
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Timekeeper

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potentially privileged documents for further review and

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documents are responsive to the Defendants’ requests for

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has made, which documents should be withheld from _

production for either privilege or non-responsiveness.

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has made, which documents should be withheld from

production for either privilege or non-responsiveness.

 

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potentially privileged documents for further review and
eventual inclusion the privilege log ordered by the Court. The
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documents are responsive to the Defendants’ requests for
production and, given the responses and objections that@)
has made, which documents should be withheld from
production for either privilege or non-responsiveness.

 

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